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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY                              Case No:      19-25712 RG
 Caption in Compliance with D.N.J. LBR 9004-1
 Brian C. Nicholas, Esquire                          Chapter: 13
 KML Law Group, P.C.
 701 Market Street, Suite 5000
 Philadelphia, PA 19106                              Judge: Rosemary Gambardella
 Main Number: (609) 250-0700
 bnicholas@kmllawgroup.com
 Attorneys for the Secured Creditor
 LAKEVIEW LOAN SERVICING LLC



 In re:
 Marcelino Arroyo aka Marcelino Blake-Arroyo
 Aretha Blake-Arroyo

                          Debtor




   Recommended Local Form:                      Followed                  Modified




                                   ORDER VACATING STAY

The relief set forth on the following page is hereby ordered ORDERED.
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       Upon the motion of LAKEVIEW LOAN SERVICING LLC, under
Bankruptcy Code section 362(a) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is


       ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue the movant’s rights in the following:

              Real Property More Fully Described as:

               Land and premises commonly known as 4 Pine Street, Hackensack NJ 07601


              Personal Property More Fully Describes as:




       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.


       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.
